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                                                                                             U.S. DISTRICT COURT
                                                                                                 N.D. OF ALABAMA


                       IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA
                                SOUTHERN DIVISION

IN RE BLUE CROSS BLUE SHIELD                   :
ANTITRUST LITIGATION                           :       Master File 2:13-cv-20000-RDP
                                               :
MDL 2406                                       :
                                               :
                                               :       This document relates to
                                               :       Subscriber Track cases

                POST-FAIRNESS HEARING BRIEF OF OBJECTORS
            GENERAL MOTORS COMPANY AND GENERAL MOTORS LLC

       In accordance with this Court’s request during the October 20-21, 2021 Fairness Hearing

(the “Fairness Hearing” or “Hearing”) (ECF Nos. 2867 and 2870), General Motors Company and

General Motors LLC (“GM”) submit this brief in response to the Subscriber Plaintiffs’ and

Defendants’ November 12, 2021 post-Hearing briefs. See ECF Nos. 2868 and 2869. In

particular, GM responds to Defendants’ contention that “the Second Blue Bid eligibility criteria

are both reasonable and equitable.” See Defendants’ Post-Hearing Br. (ECF No. 2868) at 19-21.

                                         INTRODUCTION

       GM is a large, self-funded, ASO subscriber. Under the current terms of the proposed

Settlement, GM has not been designated as a Qualified National Account (“QNA”) and,

therefore, is not eligible to solicit a Second Blue Bid.

       At the outset of this litigation, Blue Cross Blue Shield of Michigan—the Settling

Individual Blue Plan in the Service Area where GM is headquartered—was insulated from any

competition in the provision of Blue-branded products and services to GM. If the proposed

Settlement is approved, nothing will have changed in that regard. GM will remain blocked from

seeking a competing bid from a second Settling Individual Blue Plan and limited to obtaining a

Blue-branded bid from BCBS of Michigan. Thus, in its present form, the proposed Settlement
perpetuates the conduct at the heart of this lawsuit: the categorical exclusion of GM (and many

other class members) from even requesting a single Blue-branded competitive alternative. 1

        In response, the Subscriber Plaintiffs assert that elimination of the National Best Efforts

(“NBE”) Rule will “unleash[] the substantial force of Green competition for the benefit of the

class.” See Subscriber Plaintiffs’ Brief in Support of Final Approval at 10; Fairness Hearing Tr.

Vol. II at 88:5-6 (Subscriber Plaintiffs’ counsel opining that “a green bid really is merely a Blue

bid under a different color”). Yet, at the same time, the Subscriber Plaintiffs tout the “valuable

equitable relief” that comes from some—but not even a majority of—QNAs being able to access

a Second Blue Bid. Id. There is a logical inconsistency here. If the Second Blue Bid is so

uniquely valuable such that it is important to circumscribe its availability, then the competitive

significance of the NBE elimination cannot be as robust as suggested. Alternatively, if Green

competition is so significant, then there is no reason why Defendants should resist class-wide

Second Blue Bid availability.

        Contrary to what the Parties assert in their November 12, 2021 post-Hearing briefs, their

Second Blue Bid proposal draws arbitrary lines among class members (all of whom have been

similarly harmed by the same anticompetitive conduct) and, notwithstanding the application of

so-called “objective” criteria, treats those class members differently (by allowing only a minority

of them to solicit a Second Blue Bid). Accordingly, under Fed. R. Civ. P Rule 23(e)(2)(D), the

proposed Settlement fails to treat class members equitably relative to each other, and thus should

not be approved in its current form.




1
         The Parties concede that approximately two-thirds of all National Account plan members presently are
excluded from this proposed injunctive relief. See Defendants’ Post-Hearing Br. at 19; Fairness Hearing Tr. Vol. II
at 90:12-14.

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                                                        ARGUMENT

    I.        In Order to Approve the Proposed Settlement, the Court Must Find that it is
              “Fair, Reasonable and Adequate”

         During the Fairness Hearing, the Subscriber Plaintiffs proposed that this Court shift

Second Blue Bid injunctive relief from a Rule 23(b)(2) class (with no opt-out rights) to a Rule

23(b)(3) class (with opt-out rights). 2 Regardless of whether the Court houses the Second Blue

Bid injunctive relief in a Rule 23(b)(2) or 23(b)(3) class, it may only approve the proposed

Settlement upon finding that it is “fair, reasonable and adequate.” See, e.g., Bennett v. Behring

Corp., 737 F.2d 982, 986 (11th Cir. 1984); McWhorter v. Ocwen Loan Servicing, LLC, No. 2:15-

CV-01831-MHH, 2019 WL 9171207, at *8 (N.D. Ala. Aug. 1, 2019); Fed. R. Civ. P. 23(e)(2).

In so doing, the Court must determine whether, among other things, “the proposal treats class

members equitably relative to each other.” See Rule 23(e)(2)(D) (emphasis added).

Consideration of this factor “could include whether the apportionment of relief among class

members takes appropriate account of differences among their claims.” See Fed. R. Civ. P. 23

Advisory Committee's Note to 2018 Amendment. Here, however, there are no such differences

(i.e., the relevant class members all have similar claims arising from the same conduct), and any

Rule 23(b)(3) injunctive relief should reflect that fact.

         Rule 23(e)(2)(D) is satisfied when all members of the proposed injunctive relief class

receive the same benefits and/or the same policy is applied to all of them. See, e.g., Amin v.

Mercedes-Benz USA, LLC, No. 1:17-CV-01701-AT, 2020 WL 5510730, at *2 (N.D. Ga. Sept.

11, 2020); In re Equifax Inc. Customer Data Security Breach Litig., No. 1:17-md-2800-TWT,


2
          The Defendants have acquiesced to this proposal, see Defendants’ Post-Hearing Br. at 14-16, and GM does
not object to the certification of a Rule 23(b)(3) injunctive relief settlement class, provided such certification treats
all Self-Funded Sub-Class members equitably relative to each other.

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2020 WL 256132, at *9 (N.D. Ga. March 17, 2020); see also Joh v. Am. Income Life Ins. Co.,

No. 18-CV-06364-TSH, 2020 WL 109067, at *9 (N.D. Cal. Jan. 9, 2020) (rejecting a proposed

settlement for failure to satisfy Rule 23(e)(2)(D) in which relief was distributed using a formula,

but one subclass of plaintiffs received a disproportionate share of the relief).

       Where, as here, the Parties have reached a settlement agreement prior to class

certification, this Court must also apply heightened judicial scrutiny to the question of the

proposed Settlement’s substantive fairness. In Amchem Prods., Inc. v. Windsor, 521 U.S. 591,

620 (1997), the Supreme Court held that Rule 23 “demand[s] undiluted, even heightened,

attention in the settlement context” and explained that “[s]uch attention is of vital importance, for

a court asked to certify a settlement class will lack the opportunity, present when a case is

litigated, to adjust the class, informed by the proceedings as they unfold.” See also Waters v.

Cook's Pest Control, Inc., No. 2:07-CV-00394-LSC, 2012 WL 2923542, at *9 (N.D. Ala. July

17, 2012) (quoting Amchem, 521 U.S. at 620); Faught v. Am. Home Shield Corp., No. 2:07-CV-

1928-RDP, 2010 WL 10959223, at *7 (N.D. Ala. Apr. 27, 2010) (same); In re Bluetooth Headset

Prod. Liab. Litig., 654 F.3d 935, 946 (9th Cir. 2011) (holding that settlements prior to class

certification “must withstand an even higher level of scrutiny” under Rule 23(e)); Mars Steel

Corp. v. Cont'l Illinois Nat. Bank & Tr. Co. of Chicago, 834 F.2d 677, 681 (7th Cir. 1987)

(“[W]hen class certification is deferred, a more careful scrutiny of the fairness of the settlement

is required”); Weinberger v. Kendrick, 698 F.2d 61, 73 (2d. Cir. 1982) (holding that district

courts approving settlements before, or at the same time as, a class has been certified must

employ “more than the usual care”).




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    II.      The Proposed Settlement Does Not Treat Class Members Equitably Relative to
             Each Other

          In their post-Hearing brief, Defendants justify the Second Blue Bid dispersion criteria by

arguing that it “channels” the putative (b)(3) relief “to truly ‘national’ accounts and away from

geographically concentrated employers that are more likely to have viable local or regional

alternatives.” See Defendants’ Br. at 20. Thus, Defendants contend that eligibility for proposed

injunctive relief can be based on how much class members might benefit from that relief.

Defendants do not cite a case that supports this proposition, nor is GM aware of one. Defendants

also fail to adequately explain how it is that less dispersed national accounts allegedly would

benefit less from the right to solicit a Second Blue Bid.

          First, the issue here is not whether GM or other National Account plan members—

because of purported “geographic concentration”— may have non-BCBS competitive

alternatives for local or regional ASO arrangements, but whether the proposed settlement treats

class members equitably vis-à-vis each other. A system that makes a certain type of injunctive

relief available only to a subset of otherwise similarly situated class members fails that test. 3 Put

differently, individualized relief can make sense, and can be fair, where injury is individualized.

For example, had half of the national accounts historically been able to solicit two blue bids and

the other half had been restricted to one, then one might envision injunctive relief that created

parity, i.e., allowing the former group to solicit one additional blue bid and the latter to solicit

two additional blue bids, such that post-settlement all could have three options. But in that

hypothetical case, while the relief would be individualized, it still would be equitable because—




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          That is particularly true where, like here, the principal way in which class members are not similarly
situated is the result of the inequitable relief that the settling parties have designed.

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unlike what is proposed here—similarly situated class members would end up in similar

positions. As currently structured, the proposed Second Blue Bid relief does not do that.

       Moreover, the fact that the proposed Settlement—whether under Rule 23(b)(2) or

23(b)(3)—achieves its differential treatment through a facially objective formula should not

shield it from Rule 23(e)’s baseline fairness test. Nor does the fact that Second Blue Bid

determinations are refreshed every two years cure the problem. Both of these attributes still

impermissibly divide the national accounts into groups of “haves” and “have nots.”

       Second, there may be benefits associated with a Second Blue Bid that are not directly

correlated with a company’s dispersion. Perhaps most significantly, the mere availability of a

Second Blue Bid is likely to catalyze a competitive response—be it in terms of price, quality, or

both—from a local Blue. Indeed, as Home Depot noted in its Objection, there is “substantial

evidence that, absent artificial restraint, [independent Blue Plans] would compete fiercely outside

of their service areas for national accounts.” See Home Depot U.S.A., Inc.’s Objection to

Settlement Approval at 21 (Ex. 5 at ECF No. 2812-20). “For many Blues, ceding is their only

way to grow their business, given the limitations [on the amount of potential new business]

within their own ESAs. … For this reason, Member Plans compete vigorously over who gets the

right to bid on a national account.” ECF No. 2408 at 15 (citing Defendants’ documents).

Moreover, “Member Plans attempt to bid on accounts all over the country, not just those that are

geographically close.” Id. at 16 (citing defendants’ documents).

       Third, as explained by the National Accounts Objectors, “local and regional insurers

cannot service National Accounts because those insurers do not do business where thousands

upon thousands of the National Account’s plan members are located. Put differently, the

percentage of those plan members who are ‘dispersed’ is irrelevant to the inability of the local



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and regional insurers to service the account.” See National Accounts’ Reply Memorandum in

Support of Opposition to the Approval of the Injunctive Relief Class Settlement (ECF No. 2830)

at 17. GM illustrates this point. Of GM’s roughly 196,000 current group plan members,

approximately 88,000 reside in areas outside of BCBS of Michigan’s Service Area. Thus GM,

like other companies with operations spread across various jurisdictions, must piece together

different ASO solutions to cover the full base of its plan members. Having another Blue

alternative would provide an attractive competitive option for such companies, just as it does for

those who pass the parties’ custom-designed QNA test.

       Finally, the Parties assert that differential treatment of class members in a proposed

settlement may be appropriate if it is “based rationally on legitimate considerations.” See, e.g.,

Defendants’ Pre-Hearing Br. (ECF No. 2813) at 18 (quoting Pedraza v. United Guar. Corp., No.

CV100-108, 2001 WL 37071199, at *7 (S.D. Ga. June 22, 2001); see also Fairness Hearing Tr.

Vol. II at 86:23-87:2. While that may be theoretically correct, that is not what is happening here.

As discussed above, the veneer of objectivity and rationality surrounding the Second Blue Bid

eligibility criteria cannot overcome the denial of any such benefit to a significant majority of

National Accounts. To the contrary, the perpetuation of no Blue competition for approximately

two-thirds of National Accounts would provide a judicial seal of approval for the anticompetitive

walls that this lawsuit was initiated to tear down. That is the very antithesis of a legitimate

consideration that would support differential treatment among putative class members.

                                              CONCLUSION

       In its present form, the Second Blue Bid process is not fair to all Class Members. In

objecting to the proposed Settlement, GM is also mindful that having the right to solicit a Second

Blue Bid is not an entitlement for any class member to a particular outcome in a bilateral



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contract negotiation. It is simply the right to seek just one additional competitive option. But, for

the foregoing reasons, the inability of similarly situated class members to have that basic

opportunity means the proposed Settlement violates Rule 23(e)(2)(D) and, thus, is not fair,

reasonable nor adequate. As a result, the Court should not approve the proposed Settlement in its

current form.

December 8, 2021                                      Respectfully Submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 8, 2021, the foregoing was electronically filed with the

Clerk of Court using the CM/ECF system which will send notification of such filing to all

counsel of record.

                                                    /s/ Hershel A. Wancjer
                                                    Hershel A. Wancjer




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